       Case 1:20-cv-08389-JGK-JLC Document 77 Filed 10/21/22 Page 1 of 9



UNITED STATES DISTRICT COURT                                                             10/21/2022
SOUTHERN DISTRICT OF NEW YORK

NSI INTERNATIONAL, INC.,                                        CASE NO. 1:20-cv-8389 (JGK)
                   Plaintiff,

                -against-                                       STIPULATED PROTECTIVE
                                                                ORDER
HORIZON GROUP USA, INC.

                    Defendant.




       WHEREAS, the parties having agreed to the following terms of confidentiality, and the

Court having found that good cause exists for the issuance of an appropriately tailored

confidentiality order pursuant to Rule 26(c) of the Federal Rules of Civil Procedure, it is hereby

       ORDERED that the following restrictions and procedures shall apply to the information

and documents exchanged by the parties in connection with the pre-trial phase of this action:

       1.      Counsel for any party may designate any document or information, in whole or in

part, as confidential if counsel determines, in good faith, that such designation is necessary to

protect the interests of the client in information that is proprietary, competitively sensitive, a

trade secret, or otherwise sensitive non-public information (“Confidential Information”).

Information and documents designated by a party as Confidential Information will be stamped

“CONFIDENTIAL” or “HIGHLY CONFIDENTIAL”. Information that is publicly available

should not be designated as Confidential Information.

       2.      The Confidential Information disclosed will be held and used by the person

receiving such information solely for use in connection with the action, and not for any other

purpose. Such information may not be disclosed to anyone except as provided in this Protective

Order or as provided by such order as may be issued by the Court during the course of this


                                                   1
       Case 1:20-cv-08389-JGK-JLC Document 77 Filed 10/21/22 Page 2 of 9




litigation. The provisions of this Order extend to all Confidential Information regardless of the

manner in which it is disclosed, including but not limited to documents, interrogatory answers,

responses to requests for admission, deposition testimony and transcripts, deposition exhibits,

any other discovery conducted in this litigation and any copies, notes, abstracts or summaries of

the foregoing.

       3.        In the event a party challenges another party’s designation of confidentiality,

counsel shall make a good faith effort to resolve the dispute, and in the absence of a resolution,

the challenging party may seek resolution by the Court.

       4.        Nothing in this Protective Order constitutes an admission by any party that

Confidential Information disclosed in this case is relevant or admissible. Each party reserves the

right to object to the use or admissibility of the Confidential Information. Further, the parties do

not concede that all confidential materials referenced herein are discoverable.

       5.        A document should be designated “CONFIDENTIAL” when it contains or

reflects confidential information, relating to information that the disclosing party or non-party

believes in good faith contains, constitutes or reveals confidential commercial information or

other information that has not been publicly disclosed.

       6.        Confidential Information designated as “CONFIDENTIAL” shall not be disclosed

to any person, except:

                 a.      Attorneys at those law firms appearing as counsel of record for the parties

                         who are involved in the prosecution or defense of the claims advanced in

                         this action, as well as their respective paralegal, investigative, technical,

                         administrative, secretarial and clerical personnel, and any outside

                         photocopying, document storage, data processing or graphic production




                                                    2
Case 1:20-cv-08389-JGK-JLC Document 77 Filed 10/21/22 Page 3 of 9




           services employed or retained by them, who are engaged in assisting them

           in this litigation;

      b.   Any in-house attorneys employed by any of the parties who are involved

           in, or consulting or cooperating with outside counsel in the prosecution or

           defense of the claims advanced in this action, as well as their respective

           paralegal, technical, administrative, secretarial and clerical personnel;

      c.   A party, or any director, officer, employee, or contractor of a party for the

           purposes or pursuing or defending this litigation or evaluating settlement

           with a need to view the Confidential Information for this purpose;

      d.   This Court, the appellate court(s), the Court’s personnel, jurors, alternate

           jurors, and qualified persons (including necessary clerical personnel)

           recording, taking or transcribing testimony or argument at any deposition,

           hearing, trial or appeal in this litigation;

      e.   Independent experts, consultants or investigators retained by the attorneys

           for the purposes of prosecution or defense of the claims advanced in this

           action, that are not directly associated with a party, as well as their

           respective investigative, technical, administrative, secretarial and clerical

           personnel, provided Paragraph 9 is complied with;

      f.   Any person who is identified on the face of any material designated as

           Confidential Information as an author or recipient thereof or who is an

           officer, director, managing agent, or principal of the company that

           produced the Confidential Information or the receiving party; and




                                       3
       Case 1:20-cv-08389-JGK-JLC Document 77 Filed 10/21/22 Page 4 of 9




               g.      Any person who is determined to have been an author and/or previous

                       recipient of material designated as Confidential Information, but is not

                       identified on the face thereof, provided there is prior testimony of actual

                       authorship or receipt of the Confidential Information designated material

                       by such person.

       7.      Information or documents designated “HIGHLY CONFIDENTIAL” shall be

limited to information that is particularly sensitive, private, or competitively valuable, including,

without limitation, trade secrets, competitively sensitive information about future business plans

and strategies, financial information relating to pricing, gross revenue, units sold and profits for

products, marketing plans or strategies, market surveys, business plans, pricing plans, strategic

plans, license agreements or negotiations, distribution agreements, manufacturing agreements,

manufacturing processes, engineering and manufacturing drawings, employee files, identity of

shareholders, merchandising, research and development of products and technical matters not yet

released or sold, financial information or projections, including, without limitation, budgets, net

worth, or other documents relating to income or revenue earned, financial information not related

to the product at issue in this litigation, asset information that is not public knowledge, or other

confidential commercial information that the disclosing party or non-party believes in good faith

with result in competitive disadvantage or harm if disclosed to another party or third party to this

action or to the public in general.

       8.      Documents designated as “HIGHLY CONFIDENTIAL” shall not be disclosed to

any person, except those persons described in 6(a), 6(d), 6(e), 6(f), and 6(g), but only to the

extent reasonably necessary for litigation purposes, and such information shall not be given,

shown, made available, communicated, or otherwise disclosed to any other person.




                                                  4
       Case 1:20-cv-08389-JGK-JLC Document 77 Filed 10/21/22 Page 5 of 9




       9.       Prior to disclosing or displaying the Confidential Information to any person,

counsel must:

                a.     Inform the person of the confidential nature of the information or

                       documents;

                b.     Inform the person that this Court has enjoined the use of the information

                       or documents by him/her for any purpose other than this litigation and has

                       enjoined the disclosure of the information or documents to any other

                       person; and

                c.     Require each such person to sign an agreement to be bound by this Order

                       in the form attached as Exhibit A.

       10.      The disclosure of a document or information without designating it as

“CONFIDENTIAL” or “HIGHLY CONFIDENTIAL” shall not constitute a waiver of the right

to designate such document or information as Confidential Information. If so designated, the

document or information shall thereafter be treated as Confidential Information subject to all the

terms of this Protective Order.

       11.      Any Personally Identifying Information (“PII”) (e.g., social security numbers,

financial account numbers, passwords, and information that may be used for identity theft)

exchanged in discovery shall be maintained by the receiving party in a manner that is secure.

       12.      Pursuant to Federal Rule of Evidence 502, the production of privileged or work

product protected documents or communications, electronically stored information (“ESI”) or

information, whether inadvertent or otherwise, shall not constitute a waiver of the privilege or

protection from discovery in this case or in any other federal or state proceeding. This Order

shall be interpreted to provide the maximum protection allowed by Federal Rule of Evidence




                                                 5
         Case 1:20-cv-08389-JGK-JLC Document 77 Filed 10/21/22 Page 6 of 9




502(d). Nothing contained herein is intended to or shall serve to limit a party’s right to conduct a

review of documents, ESI or information (including metadata) for relevance, responsiveness

and/or segregation of privileged and/or Confidential Information before production.

         13.   If, in connection with this action, a producing party inadvertently discloses

information subject to a claim of attorney-client privilege, work product immunity, or any other

protection provided under the law (“Inadvertently Disclosed Privileged Information”), the

disclosure of the Inadvertently Disclosed Privileged Information will not constitute or be deemed

a waiver or forfeiture of any claim of privilege, work product immunity, or any other protection

that the producing party would otherwise be entitled to assert with respect to the Inadvertently

Disclosed Privileged Information and its subject matter. If claim of inadvertent disclosure is

made by a producing party with respect to Inadvertently Disclosed Privileged Information, the

receiving party: (a) will, within five business days, return or destroy all copies of the

Inadvertently Disclosed Privileged Information and certify that all such Inadvertently Disclosed

Privileged Information has been returned or destroyed; and (b) must take reasonable steps to

retrieve the information if the receiving party disclosed it before being notified by the producing

party.

         14.   The parties shall endeavor to have filed or placed under seal all pleadings or other

Court filings containing Confidential Information in order to prevent disclosure to anyone other

than persons identified in paragraphs 6 and 8 of this Protective Order (as applicable). In the event

that any Confidential Information is used in the action, the parties agree that it shall not lose its

confidential status through such use, and the parties shall take all reasonable steps to protect its

confidentiality. The parties shall follow the Court’s procedures for requests for filing under seal.




                                                   6
       Case 1:20-cv-08389-JGK-JLC Document 77 Filed 10/21/22 Page 7 of 9




       15.     If the Court Clerk shall refuse to file a sealed pleading or memorandum, the party

attempting to file the pleading or memorandum shall not be prejudiced from re-filing an unsealed

version of the pleading or memorandum as soon as reasonably practicable, and seeking to have

such pleading or memorandum sealed through a motion. Any party who in good faith believes

that designation and filing under seal is required pursuant to this Protective Order may make an

application to the Court to permit filing under seal within fifteen (15) business days of learning

of any such filing.

       16.     Regardless of any provision in this Protective Order to the contrary, a party is not

required to file a document under seal if the Confidential Information contained or reflected in

the document was so designated solely by that party.

       17.     At the conclusion of litigation, Confidential Information and any copies thereof

shall be promptly (and in no event later than 30 days after entry of final judgment no longer

subject to further appeal) returned to the producing party or certified as destroyed, except that the

parties’ counsel shall be permitted to retain their working files on the condition that those files

will remain protected.

       18.     Nothing herein shall preclude the parties from disclosing material designated to

be Confidential Information if otherwise required by law or pursuant to a valid subpoena.

       19.     The Protective Order may be modified only in writing by the parties and approved

by an order of the Court, or by motion to the Court.

       20.     This Protective Order shall apply to any non-party who is obligated to provide

discovery by deposition, production of documents or otherwise in this litigation, if that non-party

requests the protection of this Protective Order as to its Confidential Information and agrees to

be bound by the provisions of this Protective Order by executing a Confidentiality Agreement in




                                                  7
       Case 1:20-cv-08389-JGK-JLC Document 77 Filed 10/21/22 Page 8 of 9




substantially the form attached hereto as Exhibit A. This Order shall also apply to non-parties

defined in Paragraphs 6(e), 6(f), and 6(g) who are afforded access to documents or information

produced during discovery in this litigation, whether by deposition, production of documents or

otherwise. Such non-parties shall execute a Confidentiality Agreement in substantially the form

attached hereto as Exhibit A.



SO STIPULATED AND AGREED.

Dated: October 14, 2022



 KELLEY DRYE & WARREN, LLP                          HUNTON ANDREWS KURTH LLP

 Attorneys for Plaintiff                            Attorneys for Defendant

 By: /s/ Michael J. Zinna                           By: /s/ Armin Ghiam
        Michael J. Zinna                                   Armin Ghiam


                                                 SO ORDERED.
 Dated: October 21, 2022
        New York, New York                       ___________________________
                                                 HONORABLE JAMES L. COTT
                                                 United States Magistrate Judge




                                                8
       Case 1:20-cv-08389-JGK-JLC Document 77 Filed 10/21/22 Page 9 of 9




                                          EXHIBIT A

                   CONFIDENTIALITY AGREEMENT FOR OTHERS

       1.      I have been asked by _________________________ or its counsel to receive and

review certain materials or testimony that have been designated as “CONFIDENTIAL” or

“HIGHLY CONFIDENTIAL” within the terms of the Protective Order entered in the U.S.

District Court, Southern District of New York case entitled NSI International, Inc. v. Horizon

Group USA, Inc., Case No. 1:20-cv-8389 (JGK).

       2.      I have read the aforementioned Protective Order, and agree to be bound by it.

       3.      I declare the foregoing is true under penalty of perjury under the laws of the

United States of America.



DATED:__________________________



NAME:___________________________




                                                 9
